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United States Court of Appeals

FOR THE DISTRICT OF COLUMBIA CIRCUIT

No. 20-5345 September Term, 2020
1:19-mc-00145-TSC
Filed On: December 11, 2020 [1875339]

In re: In the Matter of the Federal Bureau of
Prisons' Execution Protocol Cases,

James H. Roane, Jr., et al.,
Appellees
V.
William P. Barr, Attorney General, et al.,

Appellants

MANDATE
In accordance with the order of December 11, 2020, and pursuant to Federal Rule of
Appellate Procedure 41, this constitutes the formal mandate of this court.
FOR THE COURT:
Mark J. Langer, Clerk
BY: /s/

Lynda M. Flippin
Deputy Clerk

Link to the order filed December 11, 2020
